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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 CENTRAL DIST. OF CALIFORNIA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Mitchell
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or
     passport).                        Middle Name                                            Middle Name

                                       Cohen
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   1        8       0    1   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
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Debtor 1     Mitchell Cohen                                                                Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  950 Second St., Unit 101
                                  Number       Street                                          Number      Street




                                  Santa Monica                    CA       90403
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Los Angeles
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Mitchell Cohen                                                        Case number (if known)

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                          residence?

                                                 No. Go to line 12.
                                                 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it with this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Mitchell Cohen                                                            Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Mitchell Cohen                                                              Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received             I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Mitchell Cohen                                                            Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Mitchell Cohen                                                        Case number (if known)


 Part 7:      Sign Below
For you                       I have examined this petition, and I declare under penalty of perjury that the information provided is true
                              and correct.

                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                              or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                              proceed under Chapter 7.

                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                              fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                              I understand making a false statement, concealing property, or obtaining money or property by fraud in
                              connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                              or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                              X /s/ Mitchell Cohen                                        X
                                 Mitchell Cohen, Debtor 1                                     Signature of Debtor 2

                                 Executed on 03/10/2017                                       Executed on
                                             MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                   Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Mitchell Cohen                                                         Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ David S. Hagen                                                  Date 03/10/2017
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   David S. Hagen
                                   Printed name
                                   Law Offices of David S. Hagen
                                   Firm Name
                                   16830 Ventura Blvd., Suite 500
                                   Number          Street




                                   Encino                                                     CA              91436-1795
                                   City                                                       State           ZIP Code


                                   Contact phone (818) 990-4416                     Email address go4broq@earthlink.net


                                   110588
                                   Bar number                                                 State




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                                STATEMENT OF RELATED CASES
                             INFORMATION REQUIRED BY LBR 1015-2
              UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or against the
     debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any copartnership or joint
     venture of which debtor is or formerly was a general or limited partner, or member, or any corporation of which the debtor is a
     director, officer, or person in control, as follows: (Set forth the complete number and title of such prior proceeding, date filed,
     nature thereof, the Bankruptcy Judge and court to whom assigned, whether still pending and, if not, the disposition thereof. If
     none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior proceedings(s).)

     Debtor believes that he filed a chapter 7 in 1996 and received a discharge but a review of Pacer does not provide any
verification that the case was filed.

2.   (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of
     1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the debtor, a relative
     of the general partner, general partner of, or person in control of the debtor as follows: (Set forth the complete number and title
     of such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was
     filed with any such prior proceeding(s).)

     n/a

3.   (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer of the
     debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner of the debtor, a
     relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms or corporations owning
     20% or more of its voting stock as follows. (Set forth the complete number and title of such prior proceeding, date filed, nature
     of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and if not, the disposition thereof. If
     none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior proceeding(s).)

     n/a

4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has been
     filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior proceeding,
     date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still pending, and if not, the
     disposition thereof. If none, so indicate. Also, list any real property included in Schedule A that was filed with any such prior
     proceedings(s).)

     None

I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at Encino                                  , California               /s/ Mitchell Cohen
                                                                               Debtor

Dated           February 23, 2017
                                                                               Joint Debtor




                 This form is mandatory by Order of the United States Bankruptcy Court for the Central District of California.

December 2012                                                                         F1015-2.1.STMT.RELATED.CASES
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B 201 - Notice of Available Chapters (Rev. 06/14)                                                             USBC, Central District of California


Name:          Law Offices of David S. Hagen

Address:       16830 Ventura Blvd., Suite 500
               Encino, CA 91436-1795



Telephone: (818) 990-4416                                   Fax:    (818) 990-5680

     Attorney for Debtor
     Debtor in Pro Per


                                           UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

List all names, including trade names, used by Debtor(s)             Case No.: 2:17-bk-
within last 8 years:


Mitchell Cohen                                                                        NOTICE OF AVAILABLE
                                                                                           CHAPTERS
                                                                       (Notice to Individual Consumer Debtor Under § 342(b) of the Bankruptcy Code




In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes briefly the
services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of
an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you
legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of
any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each
other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
          forbankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available
          opportunities for credit counseling and provides assistance in performing a budget analysis. The briefing
          must be given within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group
          (including briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and
          credit counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the
          bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
          debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
          management instructional course before he or she can receive a discharge. The clerk also has a list of
          approved financial management instructional courses. Each debtor in a joint case must complete the course.
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B 201 - Notice of Available Chapters (Rev. 06/14)                                                   USBC, Central District of California

2.        The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors


          Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)

          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
             Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
             whether the case should be permitted to proceed under chapter 7. If your income is greater than the median
             income for your state of residence and family size, in some cases, creditors have the right to file a motion
             requesting that the court dismiss
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
             the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
             pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
             found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may
             deny your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
             you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes;
             domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution
             obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or
             personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs.
             Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
             malicious injury, the bankruptcy court may determine that the debt is not discharged.

          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
          $75 administrative fee: Total fee $310)

          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts
             ininstallments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
             dollaramounts set forth in the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
             owe them, using your future earnings. The period allowed by the court to repay your debts may be three years
             or five years, depending upon your income and other factors. The court must approve your plan before it can
             take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic
             support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain
             debts which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or
             personal injury; and certain long term secured obligations.

          Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
          provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
          with an attorney.

          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
          future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
          whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

       A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
       perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
       information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
       General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
       components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.
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B 201 - Notice of Available Chapters (Rev. 06/14)                                                 USBC, Central District of California

                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the
debtor this notice required by § 342(b) of the Bankruptcy Code.



Printed name and title, if any, of Bankruptcy Petition Preparer             Social Security number (If the bankruptcy petition
                                                                            Address: preparer is not an individual, state the
                                                                            Social Security number of the officer, principal,
                                                                            responsible person, or partner of the bankruptcy
                                                                            petition preparer.) (Required by 11 U.S.C. § 110.)


X
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.


Certificate of the Debtor

       I (We), the debtor(s), affirm that I (we) have received and read this notice.


Mitchell Cohen                                                              /s/ Mitchell Cohen                  02/23/2017
Printed Name(s) of Debtor(s)                                                Signature of Debtor                 Date


Case No. (if known) 2:17-bk-                                                X
                                                                            Signature of Joint Debtor (if any) Date
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 Fill in this information to identify your case:
 Debtor 1                Mitchell                                                    Cohen
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $41,600.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                              $41,600.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +           $1,217,853.76
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $1,217,853.76




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $10,000.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $4,370.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Mitchell Cohen                                                               Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case and this filing:
 Debtor 1             Mitchell                                          Cohen
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                   $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Jaguar                       Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    XJ8
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2004                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 85,000                                 At least one of the debtors and another             $6,000.00                               $6,000.00
Other information:
2004 Jaguar XJ8 (approx. 85000                              Check if this is community property
miles) (exempt)                                             (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Jaguar                       Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    X Type
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2006
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 75,000                                 At least one of the debtors and another             $5,000.00                               $5,000.00
Other information:
2006 Jaguar X Type (approx. 75000                           Check if this is community property
miles) (exempt)                                             (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 1
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Debtor 1         Mitchell Cohen                                                                      Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $11,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods and furnishings at residence (exempt)                                                                $10,000.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Household artwork (exempt)                                                                                           $10,000.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               Debtor has a few firearms including, but not limited to, a bareta, a glock, a                                         $1,500.00
                                shotgun, a pistol and other firearms (exempt)
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Personal jewelry including watch and cufflinks (exempt)                                                               $2,000.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............
                               Golden Retriever                                                                                                           $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Mitchell Cohen                                                                                                        Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                        $23,500.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Checking account at Bank of America (exempt)                                                                                                  $1,000.00
             17.2.        Checking account:                      Checking account at Bank of America under dba name Via de la
                                                                 Paz (exempt)                                                                                                                                     $100.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                               % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific
            information about
            them...............................................
                                               Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
            No
            Yes. List each
            account separately.                Type of account:                     Institution name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
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Debtor 1         Mitchell Cohen                                                                       Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:




Official Form 106A/B                                                         Schedule A/B: Property                                                       page 4
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Debtor 1         Mitchell Cohen                                                                                      Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............
                                              Debtor is the plaintiff in a lawsuit entitled Mitchell Cohen v.                                                             Unknown
                                                       Gregory Thomas, et al pending in Los Angeles Superior Court as
                                                       case number SC 123444 (there is a related cross complaint filed
                                                       by Thomas against Cohen with the same case number). The
                                                       dispute arose out of an April, 2013 agreement between Cohen,
                                                       Thomas and a third party (no longer part of the enterprise) for the
                                                       formation of GMP Brands, LLC, a Delaware limited liability
                                                       company which was to be a holding company for various
                                                       undertakings, including Intimate TV, a direct response marketing
                                                       enterprise intended for the home shopping television market and
                                                       GSPE, LLC which was to produce a program selling valuable
                                                       collectibles such as rare coins directly to consumers over the
                                                       air. The program never came to fruition as Cohen and Thomas
                                                       became embroiled in disputes now being played out in the
                                                       Superior Court actions. Debtor is represented by Henry Self of
                                                       Self & Powers and Thomas is represented by Bryan Cave. There
                                                       is an estimated trial date of later in 2017. The litigation has been
                                                       aggressive and although settlement offers have been exchanged
                                                       the parties appear to be far from resolving the matter. Debtor
                                                       does not have any clear idea of how to evaluate his claims
                                                       against Thomas in the litigation.
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $1,100.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 5
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Debtor 1       Mitchell Cohen                                                        Case number (if known)


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.

                                                                                                                   Current value of the
                                                                                                                   portion you own?
                                                                                                                   Do not deduct secured
                                                                                                                   claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
           No
           Yes. Describe................
                             Debtor has some office equipment including several laptops and peripherals                      $1,000.00
                               and some home based desks and chairs and file cabinets (exempt)
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe................
                             Production equipment used in producing including set and cameras (exempt)                       $5,000.00

41. Inventory

           No
           Yes. Describe................

42. Interests in partnerships or joint ventures

           No
           Yes. Describe................
                               Name of entity:                                                   % of ownership:

                                 Debtor is the managing member of ALTV, LLC which was
                                 originally formed to be an ecommerce webiste selling
                                 baby boomer products but not doing any business
                                 currently other than funneling Debtor's monthly consulting
                                 income through its bank account at Bank of America.
                                 There are no other assets of the company and as such
                                 debtor attributes no value to his interest.                          100%                        $0.00
                                 Debtor is a 50% participant in Gimbel Cohen, LLC which
                                 was recently formed to deliver a streaming music service
                                 but has not begun operations and has no assets currently
                                 nor income. Debtor attributes no value to his interest in
                                 the enterprise.                                                       50%                        $0.00




Official Form 106A/B                                        Schedule A/B: Property                                                 page 6
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Debtor 1          Mitchell Cohen                                                                                     Case number (if known)

                                       Debtor, Gregory Thomas and Patrick Romagnano formed
                                       an entity calld GMP Brands, LLC in April, 2013 (Romagnano
                                       later assigned his interest to Thomas and Cohen). The
                                       company was intended to be a holding company for
                                       various undertakings including Intimate TV a direct
                                       response marketing enterprise for the home shopping
                                       television market and GSPE, LLC which was to produce a
                                       program sellling valuable collectibles such as rare coins
                                       directly to consumers over the air. None of the projects
                                       came to fruition as disputes arose between Cohen and
                                       Thomas, resulting in Thomas filing a lawsuit in Los
                                       Angeles Superior Court against Thomas and others, and
                                       Thomas filing a cross complaint against Cohen, both of
                                       which are still pending and have been highly litigious.
                                       Debtor does not attribute any current value to his
                                       ownership in the enterprise as a result of the non
                                       operational status of the company and the ongoing
                                       litigation with Thomas.                                                                                50%                               $0.00
43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................     $6,000.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Mitchell Cohen                                                                                             Case number (if known)

50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                         $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $11,000.00

57. Part 3: Total personal and household items, line 15                                                             $23,500.00

58. Part 4: Total financial assets, line 36                                                                           $1,100.00

59. Part 5: Total business-related property, line 45                                                                  $6,000.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................           $41,600.00              property total                 +          $41,600.00



63. Total of all property on Schedule A/B.                                                                                                                                                    $41,600.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                    Cohen
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                  04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $6,000.00                  $5,350.00          C.C.P. § 703.140(b)(2)
2004 Jaguar XJ8 (approx. 85000 miles)                                             100% of fair market
(exempt)                                                                          value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                          $6,000.00                   $650.00           C.C.P. § 703.140(b)(5)
2004 Jaguar XJ8 (approx. 85000 miles)                                             100% of fair market
(exempt)                                                                          value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                 page 1
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Debtor 1      Mitchell Cohen                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $5,000.00                   $0.00           C.C.P. § 703.140(b)(2)
2006 Jaguar X Type (approx. 75000 miles)                                     100% of fair market
(exempt)                                                                     value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 3.2                                                  limit

Brief description:                                      $5,000.00                $5,000.00          C.C.P. § 703.140(b)(5)
2006 Jaguar X Type (approx. 75000 miles)                                     100% of fair market
(exempt)                                                                     value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 3.2                                                  limit

Brief description:                                     $10,000.00               $10,000.00          C.C.P. § 703.140(b)(3)
Household goods and furnishings at                                           100% of fair market
residence (exempt)                                                           value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                     $10,000.00               $10,000.00          C.C.P. § 703.140(b)(5)
Household artwork (exempt)                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,500.00                $1,500.00          C.C.P. § 703.140(b)(3)
Debtor has a few firearms including, but                                     100% of fair market
not limited to, a bareta, a glock, a shotgun,                                value, up to any
a pistol and other firearms (exempt)                                         applicable statutory
Line from Schedule A/B:   10                                                 limit

Brief description:                                      $2,000.00                $1,600.00          C.C.P. § 703.140(b)(4)
Personal jewelry including watch and                                         100% of fair market
cufflinks (exempt)                                                           value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 12                                                   limit

Brief description:                                      $2,000.00                 $400.00           C.C.P. § 703.140(b)(5)
Personal jewelry including watch and                                         100% of fair market
cufflinks (exempt)                                                           value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 12                                                   limit

Brief description:                                      $1,000.00                $1,000.00          C.C.P. § 703.140(b)(5)
Checking account at Bank of America                                          100% of fair market
(exempt)                                                                     value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           C.C.P. § 703.140(b)(5)
Checking account at Bank of America                                          100% of fair market
under dba name Via de la Paz (exempt)                                        value, up to any
Line from Schedule A/B: 17.2                                                 applicable statutory
                                                                             limit



Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Mitchell Cohen                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,000.00                $1,000.00          C.C.P. § 703.140(b)(6)
Debtor has some office equipment                                             100% of fair market
including several laptops and peripherals                                    value, up to any
and some home based desks and chairs                                         applicable statutory
and file cabinets (exempt)                                                   limit
Line from Schedule A/B: 39

Brief description:                                      $5,000.00                $5,000.00          C.C.P. § 703.140(b)(6)
Production equipment used in producing                                       100% of fair market
including set and cameras (exempt)                                           value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 40                                                   limit

Brief description:                                      $5,000.00                   $0.00           C.C.P. § 703.140(b)(5)
Production equipment used in producing                                       100% of fair market
including set and cameras (exempt)                                           value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 40                                                   limit

Brief description:                                        $0.00                 $10,000.00          C.C.P. § 703.140(b)(5)
Debtor is the managing member of ALTV,                                       100% of fair market
LLC which was originally formed to be an                                     value, up to any
ecommerce webiste selling baby boomer                                        applicable statutory
products but not doing any business                                          limit
currently other than funneling Debtor's
monthly consulting income through its
bank account at Bank of America. There
are no other assets of the company and as
such debtor attributes no value to his
interest.
Line from Schedule A/B:  42




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                    Cohen
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.   Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.


 Part 1:       List All Secured Claims

2.   List all secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim. If more than one           Column A              Column B               Column C
     creditor has a particular claim, list the other creditors in Part 2. As        Amount of claim       Value of collateral    Unsecured
     much as possible, list the claims in alphabetical order according to the       Do not deduct the     that supports this     portion
     creditor's name.                                                               value of collateral   claim                  If any




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $0.00

Official Form 106D                       Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
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 Fill in this information to identify your case:
 Debtor 1           Mitchell                                      Cohen
                    First Name             Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1
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Debtor 1       Mitchell Cohen                                                                   Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $133.00
Aargon Agency                                               Last 4 digits of account number         1 8        1     6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           02/2015
8668 Spring Mountain Rd
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Las Vegas                       NV      89117
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for NV Energy (utility)
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          Unknown
Andy Spivak                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
10561 Bradbury Rd.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Los Angeles                     CA      90064
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               ALTV co-owner
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                             $6,457.00
Bank Of America                                          Last 4 digits of account number      2 8        3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2014
NC4-105-03-14
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 26012                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Greensboro                    NC      27410
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $5,829.00
Bank Of America                                          Last 4 digits of account number      7 7        6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2009
NC4-105-03-14
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 26012                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Greensboro                    NC      27410
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                             $2,886.00
Capital One                                              Last 4 digits of account number      4 4        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2004
Attn: General Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                             $2,008.00
Capital One                                              Last 4 digits of account number      2 1        9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2001
Attn: General Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                             $1,043.00
Capital One                                              Last 4 digits of account number      1 0        4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2001
Attn: General Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                               $229.00
Capital One                                              Last 4 digits of account number      5 8        7    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2003
Attn: General Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                             $1,907.00
Cardworks/CW Nexus                                       Last 4 digits of account number      7 3        9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9201                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes
Merrick Bank

  4.10                                                                                                                             $6,851.00
Chase Card                                               Last 4 digits of account number      0 8        9    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2011
Attn: Correspondence
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.11                                                                                                                             $1,780.00
Chase Card                                               Last 4 digits of account number      2 1        3    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2016
Attn: Correspondence
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.12                                                                                                                               $826.00
Chase Card                                               Last 4 digits of account number      9 5        5    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2007
Attn: Correspondence
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                             $6,282.00
Citicards                                                Last 4 digits of account number      6 4        2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2011
Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.14                                                                                                                             $1,442.00
Citicards                                                Last 4 digits of account number      1 0        1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2008
Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.15                                                                                                                             $5,957.00
Citicards                                                Last 4 digits of account number      7 0        8    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2011
Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                               $631.00
Credit One Bank NA                                       Last 4 digits of account number      5 4        1    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2017
PO Box 98873
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Las Vegas                     NV      89193
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.17                                                                                                                             $7,834.00
Discover Financial                                       Last 4 digits of account number      7 8        1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2008
PO Box 3025
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                               $720.00
Extreme Reach                                            Last 4 digits of account number      0 7        8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2015
PO Box 733077
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75373-3077
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt of ALTV
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.19                                                                                                                          $1,000,000.00
Gregory Thomas                                           Last 4 digits of account number      3 4        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2013
c/o Bryan Cave, LLP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Attn: Keith Klein                                            Contingent
120 Broadway, Suite 300                                      Unliquidated
                                                             Disputed
Santa Monica                  CA      90401-2386
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Litigation claim
Is the claim subject to offset?
     No
     Yes
Debtor, Thomas and a third party contracted in 4/2013 to form GMP Brands, LLC to which debtor was to be a 45%
participant. Not much after the venture had been formed and the debtor temporarily relocated to Las Vegas to run the
operation, he contended that Thomas, with the help of others, systematically used his contacts to undermine the fledling
business which never got off the ground. The company was to be a holding company for various undertakings including a
direct marketing enterprise intended for the home shopping television market including marketing a program selling
valuable collectibles including rare coins through contacts that the parties had made. Litigation ensued with the debtor
suing Thomas and others, and Thomas cross complaining against the Debtor. Litigation remains pending in Los Angeles
Superior Court. The amount shown is an estimate of Thomas would demand, perhaps excluding a claim for additional
attorney fees which would probably exceed $300,000.
  4.20                                                                                                                            $25,417.76
Havas Edge, LLC                                          Last 4 digits of account number      3 4 4           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        8/16/2016
c/o Bryan Cave LLP
Number        Street                                     As of the date you file, the claim is: Check all that apply.
120 Broadway, Suite 300                                      Contingent
                                                             Unliquidated
                                                             Disputed
Santa Monica                  CA      90401-2386
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney Fees awarded to certain defendants
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 9
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                             $8,000.00
Honey's Place                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2011-13
640 Glenoaks Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Fernando                  CA      91340
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal guaranty of business debt
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                           $25,000.00
Joan Cohen                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        6/15/2016
c/o Mitchell Cohen
Number        Street                                     As of the date you file, the claim is: Check all that apply.
950 2nd Street, Unit 101                                     Contingent
                                                             Unliquidated
                                                             Disputed
Santa Monica                  CA      90403
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Loan from mother to pay attorney fees
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                             $9,431.00
Prosper Marketplace Inc                                  Last 4 digits of account number      9 2        6    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2015
PO Box 396081
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Francisco                 CA      94139
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                               $500.00
Providence Business Services                             Last 4 digits of account number      9 7 9           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        Unknown
PO Box 3268
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Portland                      OR      97208
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unknown
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                           $50,000.00
Richard Rogg                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2011
637 12th Street
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Santa Monica                  CA      90403
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Personal loan
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                           $25,000.00
Self & Powers                                            Last 4 digits of account number      3 4        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2016
c/o Henry Self
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1645 Vine St., Suite 307                                     Contingent
                                                             Unliquidated
                                                             Disputed
Los Angeles                   CA      90028
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney Fees in connection with Thomas litigation
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11
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Debtor 1       Mitchell Cohen                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                             $6,721.00
US Bank/Rms CC                                           Last 4 digits of account number      4 3        9    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2008
Card Member Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 108                                                   Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63166
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                           $13,461.00
Wells Fargo Bank Card                                    Last 4 digits of account number      5 8        2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2014
MAC F82535-02F
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10438                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                             $1,508.00
Wells Fargo Bank Card                                    Last 4 digits of account number      1 1        4    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2014
MAC F82535-02F
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10438                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12
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Debtor 1       Mitchell Cohen                                                          Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $1,217,853.76


                  6j.   Total.   Add lines 6f through 6i.                                            6j.          $1,217,853.76




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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                    Cohen
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                     Cohen
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      ALTV, LLC
         Name                                                                                       Schedule D, line

                                                                                                    Schedule E/F, line        4.2
         Number      Street
                                                                                                    Schedule G, line
                                                                                              Andy Spivak
         City                                      State          ZIP Code


3.2      ALTV, LLC
         Name                                                                                       Schedule D, line

                                                                                                    Schedule E/F, line       4.18
         Number      Street
                                                                                                    Schedule G, line
                                                                                              Extreme Reach
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                            page 1
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Debtor 1      Mitchell Cohen                                             Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.3    ALTV, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line     4.19
       Number        Street
                                                                                 Schedule G, line
                                                                             Gregory Thomas
       City                             State       ZIP Code


3.4    ALTV, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line     4.26
       Number        Street
                                                                                 Schedule G, line
                                                                             Self & Powers
       City                             State       ZIP Code


3.5    GMP Brands, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line      4.2
       Number        Street
                                                                                 Schedule G, line
                                                                             Andy Spivak
       City                             State       ZIP Code


3.6    GMP Brands, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line     4.18
       Number        Street
                                                                                 Schedule G, line
                                                                             Extreme Reach
       City                             State       ZIP Code


3.7    GMP Brands, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line     4.19
       Number        Street
                                                                                 Schedule G, line
                                                                             Gregory Thomas
       City                             State       ZIP Code


3.8    GMP Brands, LLC
       Name                                                                      Schedule D, line

                                                                                 Schedule E/F, line     4.26
       Number        Street
                                                                                 Schedule G, line
                                                                             Self & Powers
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
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 Fill in this information to identify your case:
     Debtor 1              Mitchell                                    Cohen
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   CENTRAL DIST. OF CALIFORNIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Consultant
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Self

      Occupation may include            Employer's address     950 Second St. #101
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Santa Monica                 CA      90403
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        Since 9/2016

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.              $10,000.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.           $10,000.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Mitchell Cohen                                                                                                  Case number (if known)
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $10,000.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                      5d.                  $0.00
     5e. Insurance                                                                                         5e.                  $0.00
     5f. Domestic support obligations                                                                      5f.                  $0.00
     5g. Union dues                                                                                        5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                         5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.          $10,000.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00
     8e. Social Security                                                                                   8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.    $10,000.00 +                      =                                             $10,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.          $10,000.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Mitchell                                      Cohen                               An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    CENTRAL DIST. OF CALIFORNIA                                    MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                             No
                                                                                                                                            Yes
      Do not state the dependents'
                                                                                                                                            No
      names.
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $1,400.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                      $50.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $100.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                         page 1
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Debtor 1      Mitchell Cohen                                                           Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $100.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $700.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                      $700.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.                     $100.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                     $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                     $200.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                      $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.                    $370.00
     15c.   Vehicle insurance                                                                       15c.                    $250.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                             page 2
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Debtor 1      Mitchell Cohen                                                                   Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Miscellaneous                                                                            21.    +     $100.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.        $4,370.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.        $4,370.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $10,000.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –    $4,370.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $5,630.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                          page 3
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 Fill in this information to identify your case:
 Debtor 1           Mitchell                                 Cohen
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Mitchell Cohen                                   X
        Mitchell Cohen, Debtor 1                               Signature of Debtor 2

        Date 03/10/2017                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                     Cohen
                     First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        3111 Bel Air Dr.                                   From   part time                                                      From
        Number      Street                                                      Number      Street
                                                           To                                                                    To


        Las Vegas                 NV       89109
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Mitchell Cohen                                                            Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Check all that apply.       (before deductions   Check all that apply.      (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,           $20,000.00         Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                    bonuses, tips
                                                      Operating a business                             Operating a business


For the last calendar year:                           Wages, commissions,        ($100,000.00)         Wages, commissions,
                                                      bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                             Operating a business


For the calendar year before that:                    Wages, commissions,        ($100,000.00)         Wages, commissions,
                                                      bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Mitchell Cohen                                                                Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Richard Rogg                                                                      $1,690.00           $50,000.00             Mortgage
Creditor's name                                                                                                              Car
                                                               monthly interest payments
637 12th Street                                                                                                              Credit card
Number      Street
                                                                                                                             Loan repayment
                                                                                                                             Suppliers or vendors
Santa Monica                         CA       90403                                                                          Other Loan
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Mitchell Cohen                                                              Case number (if known)

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                               Status of the case
Mitchell Cohen v. Thomas, et al                                                       Los Angeles County Superior Court
                                                                                                                                              Pending
and related cross complaint                                                           Court Name
                                                                                                                                              On appeal
                                                                                      Number     Street
Case number SC 123444                                                                                                                         Concluded


                                                                                      City                       State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1       Mitchell Cohen                                                               Case number (if known)

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Law Offices of David S. Hagen                          01/03/2017    $1500                                      or transfer was     payment
Person Who Was Paid                                    02/01/2017    $1500                                      made

16830 Ventura Blvd., Suite 500                         03/01/2017    $1000
Number      Street                                     03/09/2017    $500 plus filing fee



Encino                        CA       91436-1795
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 5
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Debtor 1       Mitchell Cohen                                                                Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                         Description and value of any         Describe any property or payments         Date transfer
Various                                                  property transferred                 received or debts paid in exchange        was made
Person Who Received Transfer                             Over the past several years                                                       2015-16
                                                         debtor has liquidated assets
Number      Street                                       including, but not limited to
                                                         motor vehicles, motorcycles,
                                                         watches, artwork and other
                                                         personal property in order to
City                          State    ZIP Code          pay mounting legal bills in
                                                         connection with ongoing
Person's relationship to you None                        litigation and for regular living
                                                         expenses
19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                  Who else has or had access to it?           Describe the contents                     Do you still
                                                                                                                                        have it?

Private 1 car garage                                                                          Debtor rents a one car garage in              No
Name of Storage Facility                          Name                                        Santa Monica from a private                   Yes
944 12th Street                                                                               party in which he stores
Number      Street                                Number     Street                           business and personal files and
                                                                                              records.


Santa Monica               CA      90403
City                       State   ZIP Code       City                   State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1       Mitchell Cohen                                                          Case number (if known)

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 7
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Debtor 1       Mitchell Cohen                                                                  Case number (if known)

  Part 11:      Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
ALTV, LLC                                        Debtor created an ecommerce                         Do not include Social Security number or ITIN.
Business Name                                    website to sell baby boomer products.
                                                                                                     EIN: 4     7 – 4         0    4    1   7    9    1
1112 Montana Ave. #633                           The site is not up and running and has
Number     Street                                no sales but debtor is running his
                                                 consulting income through this entity.              Dates business existed
                                                 Other than a bank account at Bank of                From        2016             To   Present
                                                 America, with a nominal balance, the
Santa Monica             CA      90403
City                     State   ZIP Code        entity has no assets.
                                                 Name of accountant or bookkeeper


                                                 Describe the nature of the business                 Employer Identification number
Gimbel Cohen LLC                                 Debtor formed an entity to deliver                  Do not include Social Security number or ITIN.
Business Name                                    streaming music services but the
                                                                                                     EIN: 8     1 – 4         0    1    3   8    6    6
1112 Montana Ave. #633                           company has not yet begun
Number     Street                                operations
                                                                                                     Dates business existed
                                                 Name of accountant or bookkeeper
                                                                                                     From        2016             To   Current
Santa Monica             CA      90403
City                     State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Via de la Paz                                    A dba of debtor and designed to be a                Do not include Social Security number or ITIN.
Business Name                                    future ecommerce website but no
                                                                                                     EIN:           –
950 Second Street, Unit 101                      activity currently being conducted
Number     Street
                                                 Name of accountant or bookkeeper                    Dates business existed

                                                                                                     From        2016             To   current
Santa Monica             CA      90403
City                     State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
GSPE, LLC                                        Debtor had a 25% interest in the                    Do not include Social Security number or ITIN.
Business Name                                    business that was formed in 2013
                                                                                                     EIN: 4     6 – 3         2    9    1   2    3    1
                                                 with Greg Thomas and a third party to
Number     Street                                explore business opportunities on
                                                 televesion and ecommerce but the                    Dates business existed
                                                 relationship with the other partner                 From       4/2013            To
                                                 quickly eroded, litigation was
City                     State   ZIP Code        commenced and debtor is unsure if
                                                 the operation still exists, but he is not
                                                 a part of it if it does.
                                                 Name of accountant or bookkeeper



Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 8
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Debtor 1      Mitchell Cohen                                                        Case number (if known)

                                          Describe the nature of the business            Employer Identification number
GMP Brands, LLC                           Debtor, along with Gregory Thomas              Do not include Social Security number or ITIN.
Business Name                             and a third party formed the company
                                                                                         EIN: 4    6 – 3      2    9   1    2   3    1
                                          in 2013 to be a vehicle to promote
Number     Street                         other companies. Disputes arose
                                          between the debtor and Thomas                  Dates business existed
                                          resulting in a lawsuit filed by debtor         From      4/2013         To
                                          against Thomas and a cross
City                 State   ZIP Code     complaint filed by Thomas against
                                          debtor which are still pending.
                                          Company is technically still active but
                                          has not conducted operations virtually
                                          since the inception in 2013.
                                          Name of accountant or bookkeeper


                                          Describe the nature of the business            Employer Identification number
iTelevision, LLC aka ITV, LLC             The company was formed in 2009 and             Do not include Social Security number or ITIN.
Business Name                             operated on the same business model
                                                                                         EIN: 2    7 – 2      7    8   2    4   9    6
                                          as SETV, a television shopping show
Number     Street                         (like an infomercial) and ecommerce
                                          website selling products in the sexual         Dates business existed
                                          health and wellness business. The              From       2009          To   2013
                                          company has been inactive for at least
City                 State   ZIP Code     four years.
                                          Name of accountant or bookkeeper


                                          Describe the nature of the business            Employer Identification number
SETV, LLC aka Shop Erotic TV, LLC         Debtor owned 80% of the entity that            Do not include Social Security number or ITIN.
Business Name                             was a television shopping show (like
                                                                                  EIN: 2    0 – 4 1 6                  8    9   4    5
                                          an infomercial) and ecommerce
Number     Street                         website that sold products in the
                                          sexual health and wellness              Dates business existed
                                          categories. Approximately 4 years       From      2006         To            2013
                                          ago the stock of the company was
City                 State   ZIP Code     transferred to the company's product
                                          distributor (East Coast News) to settle
                                          money that was owed them for unpaid
                                          product. Debtor has had no continuing
                                          interest in the enterprise since.
                                          Name of accountant or bookkeeper




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 9
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Debtor 1       Mitchell Cohen                                                            Case number (if known)

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Mitchell Cohen                                      X
   Mitchell Cohen, Debtor 1                                   Signature of Debtor 2

   Date       03/10/2017                                      Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 10
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 Fill in this information to identify your case:
 Debtor 1            Mitchell                                     Cohen
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
                                                                                                                             Check if this is an
 (if known)
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the      Did you claim the property
                                                                        property that secures a debt?          as exempt on Schedule C?

      None.


 Part 2:        List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                        Will this lease be assumed?

      None.


 Part 3:        Sign Below

     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
     personal property that is subject to an unexpired lease.

X /s/ Mitchell Cohen                                     X
     Mitchell Cohen, Debtor 1                                Signature of Debtor 2

     Date 03/10/2017                                         Date
          MM / DD / YYYY                                             MM / DD / YYYY


Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                LOS ANGELES DIVISION
In re Mitchell Cohen                                                                                                                Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $4,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $4,500.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    03/10/2017                        /s/ David S. Hagen
                       Date                           David S. Hagen                             Bar No. 110588
                                                      Law Offices of David S. Hagen
                                                      16830 Ventura Blvd., Suite 500
                                                      Encino, CA 91436-1795
                                                      Phone: (818) 990-4416 / Fax: (818) 990-5680




    /s/ Mitchell Cohen
   Mitchell Cohen
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Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
Nos., State Bar No. & Email Address
DAVID S. HAGEN - SBN 110588
LAW OFFICES OF DAVID S. HAGEN
16830 Ventura Blvd., Suite 500
Encino, CA 91436-1795
(818) 990-4416 Fax (818) 990-5680
email: davidhagenlaw@gmail.com




                                          UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                      CASE NO.: 2:17-bk-

MITCHELL COHEN                                                               CHAPTER: 7

                                                                                        DEBTOR’S ATTORNEY’S
                                                                                    DISCLOSURE OF COMPENSATION
                                                                                     ARRANGEMENT IN INDIVIDUAL
                                                                                          CHAPTER 7 CASE
                                                                                                      [LBR 2090-1(a)(3)]
                                                              Debtor(s).

1.   Compensation Arrangement. Pursuant to 11 U.S.C. § 329(a), FRBP 2016(b), and LBR 2090-1(a)(3) and (4),
     I disclose that:
     a. I am the attorney for the Debtor.
     b. Compensation that was paid to me, within one year before the petition was filed, or was agreed to be paid to me,
        for services rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this
        bankruptcy case, is as follows:
          i. For legal services, I have agreed to accept                 an hourly rate of $                   ; or a      flat fee of $ 4500.00
          ii.      Prior to filing this disclosure I received $ 4500.00
          iii.     The balance due is $
2. Source of Compensation Paid Postpetition (Postpetition Compensation).
     a. Already Paid. The source(s) of the Postpetition Compensation paid to me was:
                 Debtor(s)          Other (specify):

     b. To be Paid. The source(s) of the Postpetition Compensation to be paid to me is:
                 Debtor(s)          Other (specify):
3. Sharing of Compensation Paid Postpetition.
          I have not agreed to share Postpetition Compensation with any other person unless they are members or regular
          associates of my law firm within the meaning of FRBP 9001(10).
          I have agreed to share Postpetition Compensation with other person or persons who are not members or regular
          associates of my law firm within the meaning of FRBP 9001(10). Attached as Exhibit A is a copy of the
          agreement and a list of the names of the people sharing in the Postpetition Compensation.

            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                           Page 1                           F 2090-1.CH7.ATTY.COMP.DISCLSR
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4. Limited Scope of Services. A limited scope of appearance is permitted under LBR 2090-1(a)(3), unless otherwise
   required by the presiding judge. In return for the fee disclosed above, I have agreed to provide the required legal
   services indicated below in paragraph “a”, and, if any are indicated, the additional services checked in
   paragraph “4.b”.
     a.     Services required to be provided:
            i. Analysis of the Debtor’s financial situation, and advice to the Debtor in determining whether to file a
               bankruptcy petition;
            ii.  Preparation and filing of any petition, lists, schedules and statements and any other required case
                 commencement documents; and
            iii. Representation of the Debtor at the initial § 341(a) meeting of creditors.
     b.            Additional legal services I will provide:
            i.        Any proceeding related to relief from stay motions.
            ii.       Any proceeding involving an objection to the Debtor’s discharge pursuant to 11 U.S.C. § 727.
            iii.      Any proceeding to determine whether a specific debt is nondischargeable under 11 U.S.C. § 523.
            iv.       Reaffirmation of a debt.
            v.        Any lien avoidance under 11 U.S.C. § 522(f)
            vi.       Other (specify):




5.   If in the future I agree to represent the Debtor in additional matters, I will complete and file the Attorney’s Disclosure
     of Postpetition Compensation, LBR form F 2016-1.4.ATTY.COMP.DISCLSR.

                                      DECLARATION OF ATTORNEY FOR THE DEBTOR
                 I declare under penalty of perjury that the foregoing is a complete statement of any agreement or
          arrangement for payment to me for representation of the Debtor in this bankruptcy case


            Date: 03/10/2017                    /s/ DAVID S. HAGEN
                                                ___________________________________________________
                                                Signature of attorney for the Debtor
                                                DAVID S. HAGEN
                                                ___________________________________________________
                                                Printed name of attorney
                                                LAW   OFFICES OF DAVID S. HAGEN
                                                ___________________________________________________
                                                Printed name of law firm


                                                    DECLARATION OF THE DEBTOR
                  I/we declare under penalty of perjury that my attorney has explained to me/us the limited scope of
          representation as outlined above. I/we understand that I/we have paid or agreed to pay solely for the required
          services listed in paragraph 4a, and the additional services (if any) that are checked off in paragraph 4b
          above, and that I/we am representing myself/ourselves for any other proceedings unless a new agreement is
          reached with an attorney.

            Date: 03/10/2017                                                    Date:


          /s/ MITCHELL COHEN
           ________________________________________                             ________________________________________
           Signature of Debtor 1                                                Signature of Debtor 2 (Joint Debtor)(if applicable)
           MITCHELL COHEN
           ________________________________________                             ________________________________________
           Printed name of Debtor 1                                             Printed name of Debtor 2


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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 Fill in this information to identify your case:
 Debtor 1             Mitchell                                    Cohen
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Mitchell                                   Cohen
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: CENTRAL DIST. OF CALIFORNIA
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




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Debtor 1        Mitchell Cohen                                                                                                      Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                page 2
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Debtor 1       Mitchell Cohen                                                                                      Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Mitchell Cohen                                                                        X
           Mitchell Cohen, Debtor 1                                                                       Signature of Debtor 2

           Date 3/10/2017                                                                                 Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
DAVID S. HAGEN - SBN 110588
LAW OFFICES OF DAVID S. HAGEN
16830 Ventura Blvd. Suite 500
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email: davidhagenlaw@gmail.com




     Debtor(s) appearing without attorney
     Attorney for Debtor

                                          UNITED STATES BANKRUPTCY COURT
                                                                    LOS ANGELES
                                    CENTRAL DISTRICT OF CALIFORNIA -Name           DIVISION
                                                                         of DIVISION

 In re:                                                                    CASE NO.: 2:17-bk-
                                                                           CHAPTER: 7
 MITCHELL COHEN



                                                                                         VERIFICATION OF MASTER
                                                                                        MAILING LIST OF CREDITORS
                                                                                                    [LBR 1007-1(a)]


                                                           Debtor(s).



Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
___ sheet(s) is complete, correct, and consistent with the Debtor’s schedules and I/we assume all
responsibility for errors and omissions.


       02/23/2017
Date: ___________________                                                 _______________________________________
                                                                          /s/ MITCHELL COHEN
                                                                          Signature of Debtor 1

Date: ___________________                                                 _______________________________________
                                                                          Signature of Debtor 2 (joint debtor) (if applicable)

       02/23/2017
Date: ___________________                                                 _______________________________________
                                                                          /s/ DAVID S. HAGEN
                                                                          Signature of Attorney for Debtor (if applicable)


           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
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                        Aargon Agency
                        8668 Spring Mountain Rd
                        Las Vegas, NV 89117



                        ALTV, LLC




                        Andy Spivak
                        10561 Bradbury Rd.
                        Los Angeles, CA 90064



                        Bank Of America
                        NC4-105-03-14
                        PO Box 26012
                        Greensboro, NC 27410


                        Capital One
                        Attn: General Correspondence/Bankruptcy
                        PO Box 30285
                        Salt Lake City, UT 84130


                        Cardworks/CW Nexus
                        Attn: Bankruptcy
                        PO Box 9201
                        Old Bethpage, NY 11804


                        Chase Card
                        Attn: Correspondence
                        PO Box 15298
                        Wilmington, DE 19850


                        Citicards
                        Centralized Bankruptcy
                        PO Box 790040
                        Saint Louis, MO 63179


                        Credit One Bank NA
                        PO Box 98873
                        Las Vegas, NV 89193
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                        Discover Financial
                        PO Box 3025
                        New Albany, OH 43054



                        Extreme Reach
                        PO Box 733077
                        Dallas, TX 75373-3077



                        GMP Brands, LLC




                        Gregory Thomas
                        c/o Bryan Cave, LLP
                        Attn: Keith Klein
                        120 Broadway, Suite 300
                        Santa Monica, CA 90401-2386

                        Havas Edge, LLC
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                        Honey's Place
                        640 Glenoaks Blvd.
                        San Fernando, CA 91340



                        Joan Cohen
                        c/o Mitchell Cohen
                        950 2nd Street, Unit 101
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                        Prosper Marketplace Inc
                        PO Box 396081
                        San Francisco, CA 94139



                        Providence Business Services
                        PO Box 3268
                        Portland, OR 97208
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                        637 12th Street
                        Santa Monica, CA 90403



                        Self & Powers
                        c/o Henry Self
                        1645 Vine St., Suite 307
                        Los Angeles, CA 90028


                        US Bank/Rms CC
                        Card Member Services
                        PO Box 108
                        St Louis, MO 63166


                        Wells Fargo Bank Card
                        MAC F82535-02F
                        PO Box 10438
                        Des Moines, IA 50306
